           IN THE DISTRICT COURT OF THE UNITED STATES
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
                            1:17 cr 153-2


UNITED STATES OF AMERICA,           )
                                    )
     v.                             )                                ORDER
                                    )
CECILIA BELLE BRADLEY,              )
                                    )
               Defendant.           )
____________________________________)

       Pending before the Court is Defendant’s Unopposed Motion to Join Co-defendant’s

Motion to Suppress [# 23].

       Relevant procedural history. On December 22, 2017, the Court arraigned Defendant’s

Co-defendant. On that same date, the Court entered a scheduling order stating that Rule

12(b)(1)–(4) motions must be filed no later than 30 days from the entry date of the scheduling

order. On February 23, 2018, District Judge Reidinger granted Co-defendant’s Motion to

Extend Time to File Pretrial Motions and Continue Trial [1:17cr153-1, # 21]. On March 5,

2018, Co-defendant filed his Motion to Suppress and Request for Evidentiary Hearing

[1:17cv153-1, # 22].

       On January 18, 2018, the Court held an initial appearance, arraignment, and detention

hearing as to Defendant. On that same date, the Court entered a scheduling order stating that

Rule 12(b)(1)–(4) motions must be filed no later than 30 days from the entry date of the

scheduling order. Thus, Defendant’s Rule 12 motions were due February 19, 2018. Defendant

did not file for an extension. On February 23, 2018, District Judge Reidinger granted

Defendant’s Motion to Continue Docket Call/Trial [# 21]. On March 7, 2018, Defendant filed

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her Unopposed Motion to Join Co-defendant’s Motion to Suppress [# 23]. On that same date,

Co-defendant filed an analogous motion [1:17cr153-1, # 23].

       Discussion. Because Defendant’s deadline to file Rule 12 motions has passed with no

motion to extend, the Court construes Defendant’s motion as a Motion to File a Motion to

Suppress After the Deadline Has Expired. The Government does not oppose the motion. After

considering the motion and the relevant case law, the Court finds good cause to allow

Defendant to join in her Co-defendant’s motion.

       Therefore, the Court GRANTS the motion [# 23]. Defendant may join in with Co-

defendant’s Motion to Suppress and Request for Evidentiary Hearing [1:17cr153-1, # 22].



                                        Signed: March 9, 2018




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